      Case 1:09-cr-00073-JRH-BKE Document 487 Filed 07/05/16 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

JAIMERE PROSSER,                               )
                                               )
                     Petitioner,               )
                                               )
       v.                                      )         CV 116-097
                                               )         (Formerly CR 109-073)
UNITED STATES OF AMERICA,                      )
                                               )
                     Respondent.               )


            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       Petitioner Jaimere Prosser, proceeding pro se, filed with this Court a motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence. The matter is now before the

Court for an initial review of Petitioner’s motion as required by Rule 4 of the Rules

Governing Section 2255 Proceedings for the United States District Courts. Attorney Julie M.

Wade file a prior § 2255 motion on Petitioner’s behalf challenging his career offender

designation under the United States Sentencing Guidelines under Johnson v. United States,

135 S. Ct. 2551 (2015). Prosser v. United States, CV 116-92, doc. no. 1 (S.D. Ga. June 24,

2016). In the current § 2255 motion, Petitioner brings almost identical claims, alleging that

he is no longer a career offender due to Johnson. Because Petitioner already has a § 2255

motion with almost identical claims filed by counsel, the Court REPORTS and

RECOMMENDS Petitioner’s § 2255 motion be DISMISSED and Petitioner’s motion for a
     Case 1:09-cr-00073-JRH-BKE Document 487 Filed 07/05/16 Page 2 of 2




stay and abeyance be DENIED AS MOOT.

      SO REPORTED AND RECOMMENDED this 5th day of July, 2016, at Augusta,

Georgia.




                                       2
